           Case 3:07-cv-05944-JST Document 4510 Filed 03/21/16 Page 1 of 3


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     SDN. BHD.
15
     [Additional counsel listed on signature pages]
16

17                                    UNITED STATES DISTRICT COURT

18                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                        SAN FRANCISCO DIVISION

20
     IN RE: CATHODE RAY TUBE (CRT)                           Master File No. 3:07-CV-5944 JST
21   ANTITRUST LITIGATION                                    MDL No. 1917
     _______________________________________
22                                                           STIPULATION AND [PROPOSED]
     This Document Relates To:                               ORDER REGARDING NOTICE OF
23                                                           SETTLEMENT AND EFFECT ON
     Best Buy Co. Inc. et al. v. Hitachi, Ltd. et al., No.   PENDING MOTION FOR SUMMARY
24   3:11-cv-05513-JST                                       JUDGMENT (DKT. 2973)
25                                                           Judge:      Hon. Jon S. Tigar
                                                             Trial Date: None Set
26                                                           Courtroom: 9, 19th Floor
27

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             STIPULATION AND [PROPOSED] ORDER REGARDING SETTLEMENT – MASTER CASE NO. 07-CV-5944 JST
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 1            Plaintiffs Best Buy Co., Inc., Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc.,
 2   Best Buy Stores, L.P., BestBuy.com, L.L.C. and Magnolia Hi-Fi, LLC (collectively, “Best Buy”) and
 3   Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
 4   (collectively, “Chunghwa”), by their respective attorneys, state as follows:
 5            1.     Best Buy commenced an action in the United States District Court for the Northern
 6   District of California entitled Best Buy Co., et al. v. Hitachi, Ltd., et al., Case No. 3:11-cv-05513,
 7   alleging violations of federal and state antitrust law in connection with trade and commerce in
 8   cathode ray tube products against Chunghwa and other defendants;
 9            2.     Best Buy and Chunghwa have entered into a comprehensive confidential written
10   settlement agreement and the parties expect to file stipulations of dismissal with prejudice within 30
11   days;
12            3.     Chunghwa’s pending Motion for Summary Judgment on Direct Action Plaintiffs’
13   State Law Claims on Due Process Grounds (MDL Dkt. No. 2973), currently scheduled for hearing on
14   March 28, 2016, remains pending as to only Best Buy and Chunghwa, and will be moot if, as
15   expected, Best Buy files a dismissal with prejudice as to Chunghwa;
16            4.     Chunghwa and Best Buy therefore request that the hearing on that motion be taken off
17   calendar; and
18            5.     This stipulation does not affect the rights or claims of Best Buy against any other
19   defendant or alleged co-conspirator in this litigation.
20            WHEREFORE, Best Buy and Chunghwa stipulate and agree that the hearing on the summary
21   judgment motion brought by Chunghwa at MDL Dkt. No. 2973 should be taken off calendar and
22   need not be resolved by the Court at this time.
23            The undersigned parties jointly and respectfully request that the Court enter this stipulation as
24   an order.
25   PURSUANT TO STIPULATION, IT IS SO ORDERED.
26   Dated:___________________
            March 21, 2016                          ______________________________________
27                                                  Hon. Jon S. Tigar
                                                    United States District Judge
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              STIPULATION AND [PROPOSED] ORDER REGARDING SETTLEMENT – MASTER CASE NO. 07-CV-5944 JST
          Case 3:07-cv-05944-JST Document 4510 Filed 03/21/16 Page 3 of 3


 1   DATED: March 11, 2016                         GIBSON, DUNN & CRUTCHER LLP
 2                                                 By:        /s/    Joel S. Sanders
                                                             Joel S. Sanders
 3
                                                   Attorneys for Defendants
 4                                                 CHUNGHWA PICTURE TUBES, LTD and
                                                   CHUNGHWA PICTURE TUBES (MALAYSIA) SDN.
 5                                                 BHD.
 6
     DATED: March 11, 2016                         ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
 7
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15                                                 BUY PURCHASING LLC; BEST BUY ENTERPRISE
                                                   SERVICES, INC.; BEST BUY STORES, L.P.;
16                                                 BESTBUY.COM, L.L.C.; and MAGNOLIA HI-FI, LLC
17

18   Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this document has
     been obtained from each of the signatories.
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             STIPULATION AND [PROPOSED] ORDER REGARDING SETTLEMENT – MASTER CASE NO. 07-CV-5944 JST
